           Case 2:15-cv-00997-JHE Document 157 Filed 11/06/18 Page 1 of 2                               FILED
                                                                                               2018 Nov-06 PM 01:37
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

 JAMES BARBER,                                    )
                                                  )
           Plaintiff,                             )
                                                  )
 v.                                               )   Case No.: 2:15-cv-00997-JHE
                                                  )
 HUGH HOOD, et al.,                               )
                                                  )
           Defendants.                            )

                                     FINAL JUDGMENT1

       This matter came before the court for a jury trial on Plaintiff James Barber’s claims against

Defendants Hugh Hood and Roy Roddam. Plaintiff also raised claims for injunctive relief against

Defendant Jefferson Dunn in his official capacity, which were tried to the bench.2 At the end of

Plaintiff’s case, all three defendants moved for judgment as a matter of law. (Doc. 150). The court

granted Defendant Dunn’s motion in open court, but denied the motion as to Defendants Hood and

Roddam. Defendants Hood and Roddam renewed their motion at the close of their case, and the

court again denied the motion. The jury returned a verdict in favor of Defendants Hood and

Roddam.

       The court enters JUDGMENT on the jury’s verdict in favor of Defendants Hugh Hood

and Roy Roddam and against Plaintiff James Barber. (See doc. 156). Pursuant to the court’s oral




       1
          In accordance with the provisions of 28 U.S.C. § 636(c) and Federal Rule of Civil
Procedure 73, the parties have voluntarily consented to have a United States Magistrate Judge
conduct any and all proceedings, including trial and the entry of final judgment. (Doc. 31).
        2
          Evidence for the bench and jury trials was presented simultaneously, with occasional
questioning by Defendant Dunn’s counsel outside the jury’s presence for issues bearing only on
injunctive relief.
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order, the court also enters JUDGMENT in favor of Defendant Jefferson Dunn and against

Plaintiff James Barber. This matter is DISMISSED WITH PREJUDICE. Costs are taxed

against Plaintiff.

        DONE this 6th day of November, 2018.



                                         _______________________________
                                         JOHN H. ENGLAND, III
                                         UNITED STATES MAGISTRATE JUDGE




                                               2
